11/2/21, 1:17 P@ase 4:21-cr-O6004-SMJ ECF No. 94-1

 

MLS #
Status
Price

Class

Type
County
Address
City

Cross Stree
Beds 4
Stylel 2
Style2
TotBaths 3

 

 

11/02/2021 01:17 PM

Other

filedidviMieg21 PagelD.275 Page 1 of 8

 

Sold
$339,900
RESIDEN

 
  
   

GarCap Two

New Existing Construction (Not New)
EverOcc Yes

Acres # 0.2300

Story

This Listing Information Provided Courtesy of:

ee CEL Eee

EQUAL HOUSING
OPPORTUNITY

 

 

 

 

Living Room Location
Living Room Size
Dining Room Size
Dining Room Location
Den/Study Size
Den/Study Location
Family Room Size
Family Room Location

a re
Neighborho

Total SQFT 2,232

Finished SQFT 2,232
Below Grade SQFT 0

Lot Dimensions

School District Pasco
Garage Dimensions

Year Built 2002 Kitchen Size
Zoning Type Residential Kitchen Location
Sale Includes Utility Room Size

New Construction (Y/N) No
Proposed New Const. Start Date
Proposed New Const. End Date

Utility Room Location
Bedroom 1 Size
Bedroom 1 Location

Bedroom 2 Size
Bedroom 2 Location
Bedroom 3 Size
Bedroom 3 Lacation
Bedroom 4 Size
Bedroom 4 Location
Bedroom 5 Size
Bedroom 5 Location
Bedroom 6 Size
Bedroom 6 Location
# of Full Baths 2
# of 3/4 Baths 0
# of 1/2 Baths 1

 

FOUNDATION/CONST Concrete

ROOF Comp Shingle

UTILITIES Appliances-Electric, Appliances-Gas, Electric, Gas
HVAC Central Air

INTERIOR Ceiling - Vaulted, Utility Sink

APPLIANCES Dishwasher, Microwave Oven, Range

  
 
  

EXTERIOR FEATURES
PROPERTY DESCRIPTI
IRRIGATION SYSTEM
STREET/ROAD INFO
WATER/SEWER Water - Public
GARAGE/PARKING Attached, 2 car, Door Opener, Finished, RV Parking -
Open

 

 

features a for

 

Public Remarks ay Quaint home located im—@Pon a quiet cul-de-sac! Spacious 4 bedrooms, 2.5 baths, This 2 story home

mal dining room, living room, and family room, The large master bedroom has a walk-in closet, dual vanity sinks, and a
jetted tub. Get ready To entertain there is plenty of space! Head outside to your extended concrete patio, and yes there is plenty of
space for RV/boat parking!!! Call today for a showing, this home will not last long!

 

 

This information is deemed reliable, but not guaranteed and should be independently verified.

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Meret, 1:12 Phase 4:21-cr-06004-SMJ ECF No. 94-1  filediddi/easea1 PagelD.276 Page 2 of 8

 

MLS #
Status
Price
Class
Type
County
Address
City
Cross Street
Beds
Stylei
Style2
TotBaths

 

GarCap Three

New Existing Construction (Not New)
EverOcc Yes

Acres # 0.1700

  

 

 

 

This Listing Information Provided Courtesy of:

 

 

11/02/2021 01:11 PM

 

EQUAL HOUSING
OPPORTUNITY

 

 

 

 

” Subdivision
Neighborhood

Total SOFT 2,232
Finished SQFT 2,232

Garage Dimensions

Year Built 2002

Zoning Type Residential

Sale Includes Fridge/washer/dryer/cute

Living Room Location
Living Raom Size
Dining Room Size
Dining Room Location

Family Room Location
Kitchen Size

Kitchen Location
Utility Room Size

Bedroom 2 Size
Bedroom 2 Location
Bedroom 3 Size
Bedroom 3 Location

Below Grade SOFT @ Den/Study Size Bedroom 4 Size
Lot Dimensions Den/Study Location Bedroom 4 Location
School District Family Room Size Bedroom 5 Size

Bedroom 5 Location
Bedroom 6 Size
Bedroom 6 Location
# of Full Baths 1

picket fence
New Construction (Y¥/N} No
Proposed New Const. Start Date

Utility Room Location
Bedroom 1 Size
Bedroom t Location

# of 3/4 Baths 1
# of 1/2 Baths 1

 

EXTERIOR FEATURES Fencing/Enclosed, Patio/Covered, Dog Run,
Irrigation, Porch ,

PROPERTY DESCRIPTION qolgpnenttii a

IRRIGATION SYSTEM Entire Property, Pressurized, UGS Timed, Connected
STREET/ROAD INFO Curbs, Paved, Sidewalks, Street Lights

WATER/SEWER Water - Public, Sewer - Connected

FOUNDATION/CONST Concrete, Crawl Space

ROOF Comp Shingle

BASEMENT No Basement

CONSTR. TYPE/EXTERIOR T 1-41, Wood Siding

UTILITIES Appliances-Electric, Electric, Gas

HVAC Gas - Heating, Central Air, Heat Pump - Cooling, Natural Gas
INTERIOR Drapes/Curtains/Blinds, Ceiling Fan(s)

APPLIANCES Dishwasher, Dryer, Garbage Disposal, Microwave Oven,

Open, 3 car
Range/ Oven, Refrigerator, Washer

GARAGE/PARKING Attached, Door Opener, Off Street Spaces, RV Parking -

 

Public Remarks
3 bathrooms, and tons of living space! Downstairs you will find a welcoming entry that is open to the iful formal living space. From
there you can find a formal dining room that is connected to the large kitchen with a breakfast bar and the family room! Off of the
family room is a 1/2 bath and a nice sized laundry that leads out to the 3 car garage. Upstairs has all 4 bedrooms, a full bath and a giant
master suite with a stand alone shower and jetted tub! So much space in this home. Out back is a covered patio with a spacious yard

and RV/Car/toy parking, And the front yard is wrapped up in a beautiful white picket fence! It’s like a scene from a movie! Call your
favorite Realtor and schedule a showing soon!

 

ome check out this fabulous 2 story, 2200+ square foot home Wey rd This home has 4 bedrooms,

 

 

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ECF No. 94-1 filedv@d/@td@sl PagelD.277

 

 

11/02/2021 01:03 PM

 

 

 

New
EverOcc Yes
Acres # 0.2100

aa
Status Sold

Price $391,900
Class RESIDENTIAL
Type Ciara,
County

Address _e
City Dees

Cross Street Gi,

Beds 4

Stylel 2 Story

Style2 Other

TotBaths 3

GarCap Two
Existing Construction (Not New)

This Listing Information Provided Courtesy of:

Page 3 of 8

EQUAL HOUSING
OPPORTUNITY

 

 

 

 

Subdivision
Neighborhoog
Total SQFT 2, :

Finished SQFT 2,232

Below Grade SQFT 0

Lot Dimensions

School District Pasco

Garage Dimensions 440 Sq ft
Year Built 2004

Zoning Type Residential

Sale Includes Home, Land, Chicken Coop

New Construction (Y/N) No
Proposed New Const. Start Date
Proposed New Const. End Date

Living Room Location
Living Room Size
Dining Room Size
Dining Room Location
Den/Study Size
Den/Study Location
Farnily Room Size
Family Room Location
Kitchen Size

Kitchen Location
Utility Room Size
Utility Room Location
Bedroom 1 Size
Bedroom 1 Location

Bedroom 2 Size
Bedroom 2 Location
Bedroom 3 Size
Bedroom 3 Location
Bedroom 4 Size
Bedroom 4 Location
Bedroom 5 Size
Bedroom 5 Location
Bedroom 6 Size
Bedroom 6 Location
# of Full Baths 2
# of 3/4 Baths 1
# of 1/2 Baths 0

 

FOUNDATION/CONST Crawl Space

ROOF Comp Shingle

BASEMENT No Basement

CONSTR. TYPE/EXTERIOR Weod Siding, Wood Frame
FIREPLACE/FREESTAND STOVE 1, FP - Gas, In Family Room

UTILITIES Electric, Gas

HVAC Central Air

INTERIOR Drapes/Curtains/Blinds, Utility Sink

APPLIANCES Dishwasher, Garbage Disposal, Microwave Oven, Range

EXTERIOR FEATURES ae o
PROPERTY DESCRIPTION Cae TE oe riries

IRRIGATION SYSTEM

STREET/ROAD INFO

WATER/SEWER Water - Public, Sewer - Connected
GARAGE/PARKING Attached, 2 car

 

 

your summertime BBQs! Outside storage on both sides of the hou
Move into your new home before the new school year and take a
distance. Easy freeway access close to shopping, restaurants,
cabinets for maximum storage,
mantle to stay toasty on those cold winter nights! Separate

  
 

along with a dedicated pantry.

 

se, all fenced and gated in.
dvantage of the newest sch
, parks and more.

/Oven
Public Remarks Qe: is the home you've been waiting for! Well kept home with huge backyard, nicely landscaped with
large establish perfectly placed to enhance privacy. Huge composite deck runs the entire length of the house, perfect to host

Even has a chicken coop tucked away!
ools Pasco has to offer, all within walking
Kitchen has wrap around counters, eat in bar and
Formal dining room and two living areas,
laundry room with extra cabinets and drawe

one with a gas fireplace and
rs for more storage and a

 

 

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11/2/21, 1:20 PMCase 4:21-cr-06004-SMJ ECF No. 94-1  fil#i@wistO@/21 PagelD.278 Page 4 of 8

 

MLS #

Status Sold

Price $400,000

Class ESIDENTIAL

Type

County

Address (EN

City See

Cross Street Gigante

Beds 4 GarCap Two
Stylel 2 Story New Existing Construction (Not New)
Stylez Other EverOcc Yes
TotBaths 3 Acres # 0.1700

This Listing Information Provided Courtesy of:

apes

 

 

 

 

 

 

 

EQUAL HOUSING
11/02/2021 01:20 PM i] OPPORTUNITY
“subdivision Living Room Location M Bedroom 2 Size 12x10

Neighborhood Living Room Size 17x17 Bedroom 2 Location U

Total SQFT 2,23. Dining Room Size 14x10 Bedroom 3 Size 1Lixil

Finished SQFT 2,232 Dining Room Location M Bedroom 3 Location U

Below Grade SQFT 0 Den/Study Size Bedroom 4 Size LLxil

Lot Dimensions Den/Study Location Bedroom 4 Location U

School District Pasco Family Room Size 17x15 Bedroom 5 Size

Garage Dimensions 22x19 Family Room Location M Bedroom 5 Location

Year Built 2007 Kitchen Size 12xii Bedroom 6 Size

Zoning Type SINGLE FAMILY R Kitchen Location M Bedroom 6 Location

Sale Includes Rng/Ov, Dishwasher, Micro, Utility Room Size 9x6 # of Full Baths 2

Garage AC, H20Htr Utility Room Location M # of 3/4 Baths 0

New Construction (Y/N) No Bedroom 1 Size 18x14 # of 1/2 Baths 1

Proposed New Const. Start Date Bedroom 1 Location U

 

| FEATIIRES

FOUNDATION/CONST Crawl Space EXTERIOR FEATURES Sigs aera
ROOF Comp Shingle

CONSTR. TYPE/EXTERIOR T 1-31 ROPERTY DESCRIPTION

UTILITIES Appliances-Electric, Cable, Electric, Gas

HVAC Gas - Heating, Central Air IRRIGATION SYSTEM UGS Timed

INTERIOR Drapes/Curtains/Blinds, Utility Sink STREET/ROAD INFO Curbs, Paved, Sidewalks, Street Lights

APPLIANCES Dishwasher, Garbage Disposal, Microwave Oven, Range WATER/SEWER Water - Public, Sewer - Connected

/Oven, Water Heater GARAGE/PARKING Attached, 2 car, Door Opener, Finished, See Remarks

 

 

Public Remarks Qi PST LISTED! Don't miss this 4 bedroom 2.5 bath home 2 story irae The home has recently
updated laminate flooring on the main level and upper level baths, newer carpeting on the upper level and newer neutral grey interior
paint throughout. In addition there is updated lighting with smart switches too! The HUGE 18x14 upper level master bedroom has a
private master bath with double sinks, shower, garden tub and spacious walk in closet. The fully fenced Eastern facing back yard is
great for shady summer evenings (play set included). The insulated 2 car garage also has an A/C unit for a comfy summer gym space or
workshop area, The exterior was painted in the past 2 years as well! Oh and there's 10x6 storage building too! This one is super clean &
move-in ready! Call your favorite Realtor today!

SERECTIONS

 

 

 

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MLS #

 

 

 

 

 

 

Status
Price
Class
Type
County
Address

City

Beds
Style
Style2
TotBaths

 

 

11/02/2021 01:19 PM

 

 

 
   
 

Cross Stree’

This Listing Information Provided Courtesy of:

GigE Mies - Chi

Sold
$385,000

GarCap Three

New Existing Construction (Not New)
EverOcc Yes

Acres # 0.1800

EQUAL HOUSING
OPPORTUNITY

 

 

 

 

 
  
 

 

Subdivision
Neighborhood
Total SQFT 2,2
Finished SQFT 2,232

Below Grade SQFT O

Lot Dimensions

School District

Garage Dimensions

Year Built 2004

Zoning Type Residential
Sale Includes

New Construction (Y/N) No
Proposed New Const, Start Date
Proposed New Const, End Date

Living Room Location
Living Roam Size
Dining Room Size
Dining Room Location
Den/Study Size
Den/Study Location
Family Room Size
Family Room Location
Kitchen Size

Kitchen Location
Utility Room Size
Utility Room Location
Bedroom 1 Size
Bedroom 1 Location

Bedroom 2 Size
Bedroom 2 Location
Bedroom 3 Size
Bedroom 3 Location
Bedroom 4 Size
Bedroom 4 Location
Bedroom 5 Size
Bedroom 5 Location
Bedroom 6 Size
Bedroom 6 Location
# of Full Baths 2
# of 3/4 Baths 0
# of 1/2 Baths 1

 

FOUNDATION/CONST Crawl Space
ROOF Comp Shingle
BASEMENT Ne Basement

CONSTR. TYPE/EXTERIOR Wood Siding

UTILITIES Appliances-Gas, Cable, Electric, Gas

HVAC Forced Air, Gas - Heating, Central Air, Natural Gas

INTERIOR Ceiling - Raised

APPLIANCES Dishwasher, Garbage Disposal, Microwave Oven, Range,
Water Heater

~

y

EXTERIOR FEATURES Fencing/Enclosed, Patio/Open

PROPERTY DESCRIPTION Located in City Limits, Plat Map - Recorded, Fruit
Trees

IRRIGATION SYSTEM UGS Timed

STREET/ROAD INFO Paved, Sidewalks

WATER/SEWER Water - Public, Sewer - Connected

GARAGE/PARKING Attached, Door Opener, 3 car

 

Public Remarks

 

Amazing 2 story, over 2200 Sq. Ft., 4 bed, 2.5 bath, 3 car garage.New laminate floors & carpet! Fully
landscaped with a fenced yard! Located conveniently off of Road 100 exit! Hurry & take a look before this baby flys!

 

 

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MLS #
Status
Price

Class

Type
County
Address
City

Cross Stree
Beds 4
Stylel 2 Story
Style2 Other
TotBaths 3

GarCap Two

New Existing Construction (Not New)
EverOcc Yes

Acres # 0.1700

This Listing Information Provided Courtesy of:

EQUAL HOUSING

@ OPPORTUNITY

 

 

 

 

 

Living Room Location Bedroom 2 Size

ef r
Total SQFT 2,232
Finished SQFT 2,232
Below Grade SQFT 0
Lot Dimensions

School District

Garage Dimensions

Living Room Size
Dining Room Size
Dining Room Location
Den/Study Size
Den/Study Location
Family Room Size
Family Room Location

Year Built 2001 Kitchen Size
Zoning Type Residential Kitchen Location
Sale Includes Utility Room Size

New Construction (Y/N) No
Proposed New Const. Start Date
Proposed New Const. End Date

Utility Room Location
Bedroom i Size
Bedroom 1 Location

Bedroom 2 Location
Bedroom 3 Size
Bedroom 3 Location
Bedroom 4 Size
Bedroom 4 Location
Bedroom 5 Size
Bedroom 5 Location
Bedroom 6 Size
Bedroom 6 Location
# of Full Baths 2
# of 3/4 Baths O
# of 1/2 Baths 1

 

EEATIIRES

FOUNDATION/CONST Concrete, Crawl Space

ROOF Comp Shingle

CONSTR. TYPE/EXTERIOR Wood Siding

FIREPLACE/FREESTAND STOVE 1, FP - Gas

UTILITIES Appliances-Electric, Cable, Electric, Gas

HVAC Forced Air, Gas - Heating, Central Air

INTERIOR Drapes/Curtains/ Blinds

APPLIANCES Dishwasher, Dryer, Microwave Oven, Oven, Washer, Range

 

EXTERIOR FEATURES Fengi ighting, Patio/Open
PROPERTY DESCRIPTION eee ee ee
Corner Lot

IRRIGATION SYSTEM Pressurized, UGS Timed

STREET/ROAD INFO Sidewalks, Street Lights

WATER/SEWER Water - Public, Sewer - Connected

GARAGE/PARKING Attached, 2 car

 

      
  
 
  

Public Remarks

bedroom, 2-1/2 bath, 2 car garage, 2,232 square feet two-story home on a corner lot in the Gag
formal dining room, gas fireplace in family room, bay window in living room, jetted tub in
ma om with utility sink. The fully fenced back yard has a gazebo covered patio and timed
underground sprinklers. Home does have a Ring doorbell and is conveniently located near shopping, restaurants, highway access and
more! You don't want to miss this wonderful home, contact your agent today to schedule a viewing.

 

 

This information is deemed reliable, but not guaranteed and should be independently verified.

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11/02/2021 01:12 PM

 

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MLS # Gm

Status Sold

Price $400,000

Class RESIDENTIAL

County

Address  <@RAMQREEiy

City ames

Cross Street

Beds 4 GarCap Three
Stylel 2 Story New Existing Construction (Not New)
Style2 Other EverOcc Yes
TotBaths 3 Acres # 0.2000
This Listing Information Provided Courtesy of:

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EQUAL HOUSING
OPPORTUNITY

 

 

 

 

* Subdivision

10
Total SQFT 7

Neighborho

Finished SQFT 2,232

Below Grade SQFT 0O

Lot Dimensions

School District

Garage Dimensions

Year Built 2005

Zoning Type Residential
Sale Includes

New Construction (Y/N) No
Proposed New Const. Start Date
Proposed New Const, End Date

Living Room Location
Living Room Size
Dining Room Size
Dining Room Location
Den/Study Size
Den/Study Location
Family Room Size
Family Room Location
Kitchen Size

Kitchen Location
Utility Room Size
Utility Room Location
Bedroom 1 Size
Bedroom i Location

Bedroom 2 Size
Bedroom 2 Location
Bedroom 3 Size
Bedroom 3 Location
Bedroom 4 Size
Bedroom 4 Location
Bedroom 5 Size
Bedroom 5 Location
Bedroom 6 Size
Bedroom 6 Location
# of Full Baths 2
# of 3/4 Baths O
# of 1/2 Baths 1

 

FOUNDATION/CONST Crawl Space

ROOF Comp Shingle

CONSTR. TYPE/EXTERIOR Wood Siding, Wood Frame
FIREPLACE/FREESTAND STOVE 1, FP - Gas, In Living Room

UTILITIES Appliances-Electric, Cable, Electric, Gas

HVAC Gas - Heating, Central Air, Electric - Cooling

INTERIOR Drapes/Curtains/Blinds, Ceiling Fan(s), Utility Sink
APPLIANCES Dishwasher, Microwave Oven, Range/ Oven, Refrigerator,
Water Heater

EXTERIOR FEATURES Fencing/Enclosed, Patio/Open, Deck/Wood
PROPERTY DESCRIPTION —

IRRIGATION SYSTEM UGS Timed, Connected

WATER/SEWER Water - Public, Sewer - Connected

GARAGE/PARKING Attached, Door Opener, RV Parking - Open, Workshop,
3 car

 

Public Remarks
Exterior of ho
care of! Open concept through the
come see it today!

 
  

ack yard wi
heart of the home, large bedrooms

 

 

Wonderful neighborhood with close proximity to everything you need.

ith room for gardening. Home is in great condition and well taken
and plenty of space in the restrooms. This home wont last long,

 

 

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fileWed LROGS 1

 

MLS # TSR,

Status Sold

Price $370,000

Class RESIDENTIAL
Type i i
County

Address (RR,
City

Cross Street

Beds 4

Stylel 2 Story

Style2 Other

TotBaths 3

This Listing Information Prov

 

 

11/02/2021 01:11 PM

 

eXp Realty, LLC

New
EverOcc Yes
Acres # 0.1650

PagelD.282 Page 8 of 8

GarCap Three

Existing Construction (Not New)

ided Courtesy of:

Sigesbiiizos - CEL Lge

EQUAL HOUSING
OPPORTUNITY

 

 

 

* Subdivision eee,
Neighberho

Total SQFT 2,232

Finished SQFT 2,232

Below Grade SQFT 0

Lot Dimensions 7ixi101

School District Pasco

Garage Dimensions

Year Built 2001

Zoning Type SINGLE FAMILY R

Sale Includes

New Construction (Y/N) No ,

Proposed New Const. Start Date

Proposed New Const. End Date

Living Room Location M
Living Room Size 15x14
Dining Room Size 14x10
Dining Room Location M
Den/Study Size

Den/Study Location

Family Room Size 17x16
Family Room Location M
Kitchen Size 12x11
Kitchen Location M
Utility Room Size 10x6
Utility Room Location M
Bedroom 1 Size 18x15
Bedroom 1 Location U

Bedroom 2 Size 12x10
Bedroom 2 Location U
Bedroom 3 Size 12x11
Bedroom 3 Location U
Bedroom 4 Size Lixii
Bedroom 4 Location U
Bedroom 5 Size
Bedroom 5 Location
Bedroom 6 Size
Bedroom 6 Location

# of Full Baths 2

# of 3/4 Baths O

# of 1/2 Baths 1

 

 

FOUNDATION/CONST Crawl Space
ROOF Comp Shingle

EXTERIOR FEATURES

CONSTR. TYPE/EXTERIOR T 1-11, Wood Frame

PROPERTY DESCRIPTION <qggaaaCG Oana ne
Gantersig

IRRIGATION SYSTEM

STREET/ROAD INFO Sens Vail Pilawalae piresk TGR
WATER/SEWER Water - Public, Sewer - Connected

GARAGE/PARKING Attached, Door Opener, RV Parking - Open, 3 car

FIREPLACE/FREESTAND STOVE i, FP - Gas, In Family Room

UTILITIES Appliances-Electric, Appliances-Gas, Cable, Electric, Gas
HVAC Forced Air, Gas - Heating, Central Air, Electric - Cooling
INTERIOR Surround Snd - Equip Incl

APPLIANCES Dishwasher, Microwave Oven, Range/Oven, Refrigerator,
Water Heater

 

MADE

Public Remarks @i much to love about this house with personality! Maybe it's the enormous stamped concrete patio with
firepit, or the picturesque weeping willow... maybe it's the durable LVP flooring, or the stylish kitchen with updated appliances,.. no
matter what catches your attention, make sure you see this home before it's gone! You'll love the layout with front living room, back
family room, and 4 spacious bedrooms upstairs. With beautiful bay windows at the front and double glass doors at the back, there's tons
of natural light filtering through the open and airy first level. The kitchen features gray cabinetry, modern appliances with 5-burner gas
range, eating bar, and pantry. Family room has a cozy gas fireplace and surround sound at ceiling. Upstairs, the master suite is huge
(18x15) with additional bay window area, jetted tub, walk-in closet, dual sinks - a great set up! Outside you'll love the fully fenced yard,

 

 

 

 

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